                    Case 2:06-cr-00441-DAD Document 497 Filed 02/12/13 Page 1 of 1
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                     v.                                                    (For Revocation of Probation or Supervised Release)
                                                                           (For Offenses committed on or after November 1, 1987)
              ANDRES MAYORGA
                      (Defendant’s Name)                                   Criminal Number: 2:06CR00441-07


                                                                           Timothy Zindel, Assistant Federal Defender
                                                                           Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charges 1 and 2 as alleged in the violation petition filed on February 27, 2012.
[]  was found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Number                     Nature of Violation                                      Date Violation Occurred
1                                    New Law Violation                                        2/17/2012
2                                    Alcohol Use                                              2/17/2012



The court: [ ] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on   .

       The defendant is sentenced as provided in pages 2 through 1 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charges 1 and 2 are DISMISSED. No Supervised Release to follow.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 February 1, 2013
                                                                 Date of Im position of Sentence




                                                                 S ignature of Judicial O fficer



                                                                 GARLAND E. BURRELL, JR., Senior U. S. District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 2/12/13
                                                                 Date
